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                              UNITED STATES BANKRUPTCY COURT
                                    Middle District of Florida
                                        Orlando Division

IN RE:                                                           Case No:          6:20-bk-06225-LVV

KEVIN EDWARD HAGGERTY

                                             Debtor /            Chapter 13

                                   Notice of Increase in Plan Payments
                               This notice supersedes any previous notices filed

    This notice is occasioned by a Notice of Mortgage Payment Change from U.S. Bank Trust National
Association (10/2/2021). Paragraph 8 of your Confirmation Order provides for this change in plan payments
from you to the Trustee, and no further order is required.

THE EFFECTIVE DATE OF THIS INCREASE IN PAYMENT IS WITH THE PAYMENT DUE:
November 2021
                                      Former           New
       Payment                       $1,557.93     $1,597.48
       Increase                                       $39.55
       Additional Trustee Fee                          $4.39
         Your payment to the trustee               $4,791.00            $4,834.94     (11/2021 - 2/2022)
                                                   $4,850.00            $4,893.94     (3/2022 - 8/2022)
                                                   $4,463.00            $4,506.94     (9/2022 - 4/2025)
                                                   $4,321.00            $4,364.94     (5/2025 - 11/2025)

    If you have made one or more payments which are after the effective date of this change, you MUST, in
order for your payments to be current and in good standing, forward the difference between your former payment
and the new payment to the Trustee upon receipt of this notice.
                                            Certificate of Service

     I HEREBY CERTIFY, that a true and correct copy of the foregoing was served upon the parties listed below
by first-class U.S. Mail, postage prepaid or by Electronic Notification through the Court’s ECF System at the
e-mail address registered with the Court, on this 12th day of October, 2021.

Debtor - Kevin Edward Haggerty, 617 Rosegate Lane, Orlando, FL 32835
Attorney - Paul L Urich, Law Office Of Paul L Urich, 1510 E Colonial Dr, Ste 204, Orlando, FL 32803-4734


                                                               BY: /S/ LAURIE K. WEATHERFORD
                                                               Chapter 13 Trustee
                                                               Stuart Ferderer
                                                               FBN 0746967
                                                               Ana DeVilliers
                                                               FBN 0123201

                                                               PO Box 3450
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